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                                          U.S. Department of Justice
                                                  United States Attorney
                                                  Western District of New York


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                                                            April 25, 2022
Via ECF

Hon. John L. Sinatra, Jr.
United States District Court Judge
Robert H. Jackson United States Courthouse
2 Niagara Square
Buffalo, New York 14202

       Re:    United States v. $402,302.04 U.S. Currency seized from Bank on
              Buffalo, et. al.
              21-mc-26-JLS

Dear Judge Sinatra:

       On March 24, 2022, the putative claimant, Roberto Soliman, was indicted. (Docket
No. 22-CR-42). In light of the Indictment of Mr. Soliman that includes forfeiture allegations
against the defendant property, and pursuant to 18 U.S.C. § 983(a)(3)(C), the government will
not seek civil forfeiture of the property. The government’s continued possession of the
property will be governed by applicable criminal forfeiture statutes, Title 18 U.S.C. §§ 981
and 982.

       The parties agree that this miscellaneous civil matter may be closed.

       Thank you for your consideration in this regard.

                                                  Respectfully yours,

                                                  TRINI E. ROSS
                                                  United States Attorney
                                                  Western District of New York


                                           BY:    s/PAUL C. PARISI
                                                  Assistant United States Attorney

cc:    Rodney G. Personius, Esq.
